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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

    In re:
                                                               Chapter 11
    WILLIAMS INDUSTRIAL                       SERVICES
    GROUP INC., et al.,1                                       Case No. 23-10961 (BLS)

                                                               (Jointly Administered)
              Debtors.
                                                               Related Docket No. 196

                               NOTICE OF AUCTION CANCELLATION
                             AND DESIGNATION OF SUCCESSFUL BIDDER

             PLEASE TAKE NOTICE that no bidder submitted a bid, qualified or otherwise, as

contemplated by the Order (I) Approving Bidding Procedures for the Sale of Debtors’ Assets, (II)

Scheduling Hearings and Objection Deadlines with Respect to the Sale, (III) Scheduling Bid

Deadlines and an Auction, (IV) Approving the Form and Manner of Notice Thereof, (V) Approving

Assumption and Assignment Procedures for Executory Contracts and Unexpired Leases, (VI)

Authorizing and Approving the Debtors’ Entry into the Stalking Horse APA, (VII) Authorizing and

Approving Bid Protections, and (VIII) Granting Related Relief [Docket No. 196] (the “Bid

Procedures Order”), which approved, among other things, certain bidding procedures (the

“Bidding Procedures”) by the Bid Deadline2 of 5:00 p.m. (prevailing Eastern Time) on August

29, 2023.



1
             The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax
             identification number, include: Williams Industrial Services Group Inc. (1378), Williams Industrial
             Services Group, LLC (2666), Williams Industrial Services, LLC (0406), Williams Plant Services,
             LLC (9575), Williams Specialty Services, LLC (9578), WISG Electrical, LLC (6918),
             Construction & Maintenance Professionals, LLC (0925), Williams Global Services, Inc. (3708),
             Steam Enterprises, LLC (9177), GPEG LLC (5707), Global Power Professional Services, Inc.
             (2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N. 3510), and WISG Electrical
             Ltd. (B.N. 2116). The location of the Debtors’ corporate headquarters and service address is: 200
             Ashford Center N, Suite 425, Atlanta, GA 30338.
2
             Capitalized terms not otherwise defined herein shall have the meaning ascribed in the Bid Procedures Order.

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         PLEASE TAKE FURTHER NOTICE that, in absence of any alternative bids, the Auction

scheduled for August 31, 2023, at 10:00 a.m. (prevailing Eastern Time) is hereby CANCELLED;

and

         PLEASE TAKE FURTHER NOTICE that EnergySolutions Nuclear Services, LLC (the

“Stalking Horse Bidder”) is hereby designated as the Successful Bidder; and

         PLEASE TAKE FURTHER NOTICE that pursuant to the Bid Procedures Order, a hearing to

consider approving the sale of Debtors’ Assets free and clear of all claims, liens and encumbrances

to the Stalking Horse Bidder will take place before the Honorable Brendan L. Shannon, in the

United States Bankruptcy Court for the District of Delaware, 824 North Market Street, 6th Floor,

Courtroom 1, Wilmington, Delaware 19801, on September 7, 2023, at 2:00 p.m. (prevailing

Eastern Time).




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 Dated: August 30, 2023             CHIPMAN BROWN CICERO & COLE, LLP
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                                    Counsel for Debtors




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